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1. The claimant is Verna Dingley and her husband, William Dingley.

2. On March 7, 2006, Mrs. Dingley slipped and fell on a puddle of water in the
aisle in the produce department at the Winn Dixie store at 5015 Gulfport Blvd. in
Gulfport, Pinellas County, FL. Winn Dixie failed to adequately maintain the
premises. The negligent condition was known to Winn Dixie or had existed for a
sufficient length of time so that Winn Dixie should have known of it. As a
proximate cause of the negligence, the claimants have suffered injuries resulting in
pain and suffering, medical expense and other damages.

3. The amount of damages is unliquidated at this time.

4. Notices should be provided to: Adam S. Goldstein, P.A., 3909 Central Avenue,
St. Petersburg, FL 33713, phone (727)820-0200, fax (727)323-7180 ,

asg(@tampabay.1r.com

